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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

BIG LOTS, INC., et al.,                                          Case No. 24-11967 (JKS)

                          Debtors. 1                             (Jointly Administered)


                   NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
                           OCTOBER 9, 2024, AT 1:00 P.M. (ET) 2

                      This proceeding will be conducted in-person in Courtroom 6.
        All counsel and witnesses are expected to attend unless permitted to appear remotely via
                      Zoom. Please refer to Judge Stickles’ Chambers Procedures
          (https://www.deb.uscourts.gov/content/judge-j-kate-stickles) and the Court’s website
       (http://www.deb.uscourts.gov/ecourt-appearances) for information on who may participate
     remotely, the method of allowed participation (video or audio), Judge Stickles’ expectations of
                     remote participants, and the advance registration requirements.

      Registration is required by 4:00 p.m. (Prevailing Eastern Time) the business day before the
      hearing unless otherwise noticed using the eCourtAppearances tool available on the Court’s
                                                website.


ADJOURNED MATTERS

1.        Motion of Debtors for Entry of Interim and Final Orders (I) Confirming the Manner of
          Satisfying the Requirement to File a List of Equity Security Holders and (II) Authorizing
          Debtors to Redact Certain Personal Information (D.I. 5, filed 9/9/24).

          Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
          5:00 p.m. (ET) for the Official Committee of Unsecured Creditors (“Committee”) and the
          Office of the United States Trustee (“U.S. Trustee”).

          Responses Received: None at this time.

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            The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin-
Granville Road, Columbus, OH 43081.
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            This hearing will be held before the Honorable J. Kate Stickles at the United States Bankruptcy Court for
the District of Delaware, 824 Market Street, 5th Floor, Courtroom #6, Wilmington, Delaware 19801.
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     Related Documents:

     a)     Interim Order (I) Confirming the Manner of Satisfying the Requirement to File a
            List of Equity Security Holders and (II) Authorizing Debtors to Redact Certain
            Personal Information (D.I. 146, entered 9/12/24); and

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

2.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to Pay
     Certain Prepetition Taxes, Governmental Assessments, and Fees and (II) Financial
     Institutions to Honor and Process Related Checks and Transfers (D.I. 7, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received: None at this time.

     Related Documents:

     a)     Interim Order Authorizing (I) Debtors to Pay Certain Prepetition Taxes,
            Governmental Assessments, and Fees and (II) Financial Institutions to Honor and
            Process Related Checks and Transfers (D.I. 118, entered 9/11/24); and

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

3.   Motion of Debtors for Entry of Interim and Final Orders Establishing Notification and
     Hearing Procedures for, and Approving Restrictions on, Certain Transfers of, and
     Declarations of Worthlessness with Respect to, Interests in the Debtors Estates (D.I. 8,
     filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from Jeffrey M. Kurzon.




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     Related Documents:

     a)     Interim Order Establishing Notification and Hearing Procedures for, and
            Approving Restrictions on, Certain Transfers of and Declarations of Worthlessness
            with Respect to Interests in the Debtors Estates (D.I. 117, entered 9/11/24); and

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

4.   Motion of Debtors for Entry of Interim and Final Orders (I) Prohibiting Utilities from
     Altering, Refusing, or Discontinuing Service, (II) Deeming Utilities Adequately Assured
     of Future Performance, and (III) Establishing Procedures for Determining Requests for
     Additional Adequate Assurance (D.I. 9, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from Keter Environmental Services (“Keter”);

     b)     Informal comments received from Direct Energy Business, LLC; and

     c)     Objection of Certain Utility Companies to the Motion of Debtors for Entry of
            Interim and Final Orders (I) Prohibiting Utilities from Altering, Refusing, or
            Discontinuing Service, (II) Deeming Utilities Adequately Assured of Future
            Performance, and (III) Establishing Procedures for Determining Requests for
            Additional Adequate Assurance (D.I. 272, filed 9/25/24).

     Related Documents:

     a)     Interim Order (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing
            Service, (II) Deeming Utilities Adequately Assured of Future Performance, and
            (III) Establishing Procedures for Determining Requests for Additional Adequate
            Assurance (D.I. 136, entered 9/11/24);

     b)     Notice of Amended Exhibit to Motion of Debtors for Entry of Interim and Final
            Orders (I) Prohibiting Utilities from Altering, Refusing, or Discontinuing Service,
            (II) Deeming Utilities Adequately Assured of Future Performance, and
            (III) Establishing Procedures for Determining Requests for Additional Adequate
            Assurance (D.I. 139, filed 9/12/24); and

     c)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

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     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

5.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to Honor
     Prepetition Obligations to Customers and Otherwise Continue Customer Practices and
     (II) Financial Institutions to Honor and Process Related Checks and Transfers (D.I. 10,
     filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee.

     Related Documents:

     a)     Interim Order Authorizing (I) Debtors to Honor Prepetition Obligations to
            Customers and Otherwise Continue Customer Practices and (II) Financial
            Institutions to Honor and Process Related Checks and Transfers (D.I. 126, entered
            9/11/24); and

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

6.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to
     (A) Continue and Renew Their Liability, Property, Casualty, Surety Bond, and Other
     Insurance Programs, and Honor All Obligations in Respect Thereof, (B) Honor and Renew
     the Terms of the Premium Financing Agreements and Pay the Financing Agreement
     Payments Thereunder, and (C) Enter into New Premium Financing Agreements in the
     Ordinary Course of Business and (II) Financial Institutions to Honor and Process Related
     Checks and Transfers (D.I. 12, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 4, 2024, at
     5:00 p.m. (ET) for Liberty Mutual Insurance Company (“Liberty Mutual”); extended to
     October 9, 2024, at 5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received

     a)     Informal comments received from Liberty Mutual; and

     b)     Informal comments received from the Chubb Companies (“Chubb”)




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     Related Documents:

     c)     Interim Order Authorizing (I) Debtors to (A) Continue and Renew Their Liability,
            Property, Casualty, Surety Bond, and Other Insurance Programs, and Honor All
            Obligations in Respect Thereof, (B) Honor and Renew the Terms of the Premium
            Financing Agreements and Pay the Financing Agreement Payments Thereunder,
            and (C) Enter into New Premium Financing Agreements in the Ordinary Course of
            Business and (II) Financial Institutions to Honor and Process Related Checks and
            Transfers (D.I. 119, entered 9/11/24); and

     d)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

7.   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing (A) Debtors to
     Continue to Maintain Existing Cash Management System, Bank Accounts, and Business
     Forms, (B) Debtors to Open and Close Bank Accounts, and (C) Financial Institutions to
     Administer the Bank Accounts and Honor and Process Related Checks and Transfers,
     (II) Waiving Deposit and Investment Requirements, and (III) Allowing Intercompany
     Transactions and Affording Administrative Expense Priority to Post-Petition Intercompany
     Claims (D.I. 15, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee; and

     b)     Informal comments received from PrimeRevenue, Inc (“PrimeRevenue”).

     Related Documents:

     a)     Interim Order (I) Authorizing (A) Debtors to Continue to Maintain Existing Cash
            Management System, Bank Accounts, and Business Forms, (B) Debtors to Open
            and Close Bank Accounts, and (C) Financial Institutions to Administer the Bank
            Accounts and Honor and Process Related Checks and Transfers, (II) Waiving
            Deposit and Investment Requirements, and (III) Allowing Intercompany
            Transactions and Affording Administrative Expense Priority to Post-Petition
            Intercompany Claims (D.I. 112, entered 9/10/24); and

     b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
            9/12/24).

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     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

8.   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Assume
     the Services Agreement, (II) Authorizing Store Closing Sales and Approving Related
     Procedures, and (III) Granting Related Relief (D.I. 16, filed 9/9/24).

     Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
     5:00 p.m. (ET) for the Committee and the U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the Committee;

     b)     Informal comments received from the U.S. Trustee;

     c)     Informal comments received from the Orange County Tax Collector and the
            Broward County Tax Collector;

     d)     Informal comments received from National Association of Attorneys General;

     e)     Informal comments received from Chubb;

     f)     Northtowne Plaza Properties, Ltd.’s Limited Objection to the Notice of List of
            Additional Closing Stores Pursuant to the Interim Order (I) Authorizing Debtors to
            Assume the Services Agreement, (II) Authorizing Store Closing Sales and
            Approving Related Procedures, and (III) Granting Related Relief (D.I. 274, filed
            9/25/24);

     g)     Casitas Oceanside Three LP’s Joinder and Limited Objection to Notice of List of
            Additional Closing Stores Pursuant to the Interim Order (I) Authorizing Debtors to
            Assume the Services Agreement, (II) Authorizing Store Closing Sales and
            Approving Related Procedures, and (III) Granting Related Relief (D.I. 323, filed
            9/26/24);

     h)     Omnibus Limited Objection of Certain Landlords to Motions of Debtors to
            Approve (A) Store Closing Procedures and (B) Post-Petition Financing (D.I. 385,
            filed 10/2/24);

     i)     Joint Limited Objection of the Texas Tax Authorities to the Debtors’ Motion for
            Entry of Interim and Final Orders (I) Authorizing Debtors to Assume the Services
            Agreement, (II) Authorizing Store Closing Sales and Approving Related
            Procedures, and (III) Granting Related Relief (D.I. 388, filed 10/2/24);

     j)     Limited Objection of Cactus Crossing, LLC to Motion of Debtors for Entry of
            Interim and Final Orders (I) Authorizing Debtors to Assume the Services
            Agreement, (II) Authorizing Store Closing Sales and Approving Related
            Procedures, and (III) Granting Related Relief (D.I. 396, filed 10/2/24);
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k)    Joinder and Objection of the Grove Shops LLC to the Motions of the Debtors to
      Approve (I) Store Closing Procedures and (II) Post Petition Financing (D.I. 400,
      filed 10/2/24); and

l)    Limited Objection and Reservation of Rights of Landlord Columbia Park Retail
      Owner, LLC to Interim Order (I) Authorizing Debtors to Assume the Consulting
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 401, filed 10/2/24).

Related Documents:

a)    Interim Order (I) Authorizing Debtors to Assume the Services Agreement,
      (II) Authorizing Store Closing Sales and Approving Related Procedures, and
      (III) Granting Related Relief (D.I. 134, entered 9/11/24);

b)    Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
      9/12/24);

c)    Notice of Filing of List of Additional Closing Stores Pursuant to the Interim Order
      (I) Authorizing Debtors to Assume the Services Agreement, (II) Authorizing Store
      Closing Sales and Approving Related Procedures, and (III) Granting Related Relief
      (D.I. 239, filed 9/20/24);

d)    Declaration of Joseph Malfitano in Support of Motion of Debtors for Entry of
      Interim and Final Orders (I) Authorizing Debtors to Assume the Services
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 257, filed 9/24/24);

e)    Declaration of Eric W. Kaup in Support of Motion of Debtors for Entry of Interim
      and Final Orders (I) Authorizing Debtors to Assume the Services Agreement,
      (II) Authorizing Store Closing Sales and Approving Related Procedures, and
      (III) Granting Related Relief (D.I. 258, filed 9/24/24);

f)    Declaration of Mark P. Naughton in Support of Motion of Debtors for Entry of
      Interim and Final Orders (I) Authorizing Debtors to Assume the Services
      Agreement, (II) Authorizing Store Closing Sales and Approving Related
      Procedures, and (III) Granting Related Relief (D.I. 259, filed 9/24/24); and

g)    Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
      Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
      Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
      Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
      Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and (4)
      Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
      9/26/24).

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     Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

9.   Motion of Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
     Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling
     Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form and
     Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving Assumption and
     Assignment Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of
     Liens, Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
     Assignment of Executory Contracts and Unexpired Leases, and (III) Granting Related
     Relief (D.I. 18, filed 9/9/24).

     Objection Deadline: September 23, 2024, at 4:00 p.m. (ET); extended to October 7, 2024,
     at 9:00 a.m. for various landlords represented by Allen Matkins Leck Gamble Mallory &
     Natsis LLP, Ballard Spahr LLP, Barclay Damon LLP, and Frost Brown Todd LLP and
     extended to Tuesday October 8, 2024 at 9:00 a.m. for Kelley Drye & Warren LLP (the
     “Landlords”); extended to October 9, 2024, at 5:00 p.m. (ET) for the Committee and the
     U.S. Trustee.

     Responses Received:

     a)     Informal comments received from the U.S. Trustee;

     b)     Informal comments received from the Committee;

     c)     Informal comments received from the Landlords;

     d)     Limited Objection by 1600 Eastchase Parkway Leasing LLC, to Debtors’ Motion
            for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of Debtors
            Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling Auction
            for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form and
            Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving
            Assumption and Assignment Procedures, (II) (A) Approving Sale of Debtors
            Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and (B)
            Authorizing Assumption and Assignment of Executory Contracts and Unexpired
            Leases, and (III) Granting Related Relief (D.I. 237, filed 9/20/24);

     e)     Response and Reservation of Rights of WPG Management Associates, Inc. to
            Motion of Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for
            Sale of Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C)
            Scheduling Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D)
            Approving Form and Manner of Notices of Sale, Auction, and Sale Hearing, and
            (E) Approving Assumption and Assignment Procedures, (II) (A) Approving Sale
            of Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances
            and (B) Authorizing Assumption and Assignment of Executory Contracts and
            Unexpired Leases, and (III) Granting Related Relief (D.I. 244, filed 9/23/24);


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f)    Protective Objection of American National Insurance Company to Motion of
      Debtors for Entry of Orders (I) (A) Approving Bidding Procedures for Sale of
      Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections, (C) Scheduling
      Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (D) Approving Form
      and Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving
      Assumption and Assignment Procedures, (II) (A) Approving Sale of Debtors’
      Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and (B)
      Authorizing Assumption and Assignment of Executory Contracts and Unexpired
      Leases, and (III) Granting Related Relief (D.I. 246, filed 9/23/24);

g)    Statement of Reservation of Rights of the Gerson Company Regarding Debtors’
      Sale Procedures Motion (D.I. 247, filed 9/23/24); and

h)    Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
      Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
      Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
      Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
      Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and (4)
      Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
      9/26/24).

Related Documents:

a)    Declaration of Adam Rifkin in Support of Motion of Debtors for Entry of Orders
      (I) (A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
      Related Relief (D.I. 197, filed 9/17/24);

b)    Notice of Filing of Exhibits Related to Motion of Debtors for Entry of Orders
      (I) (A) Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving
      the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to
      Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
      Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
      Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
      Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
      Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
      Related Relief (D.I. 198, filed 9/17/24); and

c)    Notice of Hearing Regarding Motion of Debtors for Entry of Orders (I) (A)
      Approving Bidding Procedures for Sale of Debtors’ Assets, (B) Approving the
      Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing to

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             Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of
             Sale, Auction, and Sale Hearing, and (E) Approving Assumption and Assignment
             Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,
             Claims, Interests, and Encumbrances and (B) Authorizing Assumption and
             Assignment of Executory Contracts and Unexpired Leases, and (III) Granting
             Related Relief (D.I. 199, filed 9/17/24).

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

10.   [REDACTED] Motion of Debtors for Entry of Interim and Final Orders, Pursuant to 11
      U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552 (I) Authorizing the Debtors to
      (A) Obtain Senior Secured Superpriority Post-Petition Financing and (B) Use Cash
      Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,
      (III) Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a Final
      Hearing, and (V) Granting Related Relief (D.I. 20, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 4, 2024, at
      5:00 p.m. (ET) for Chubb and Liberty Mutual; extended to October 7, 2024, at 9:00 a.m.
      (ET) for the Landlords; extended to October 9, 2024 at 5:00 p.m. (ET) for certain landlords
      represented by Frost Brown Todd LLP; extended to October 9, 2024, at 5:00 p.m. (ET) for
      the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the Committee;

      b)     Informal comments received from the Landlords;

      c)     Informal comments received from the U.S. Trustee;

      d)     Informal comments received from the Orange County Tax Collector and the
             Broward County Tax Collector;

      e)     Informal comments received from Liberty Mutual;

      f)     Informal comments received from Comenity Capital Bank;

      g)     Informal comments received from Chubb;

      h)     Omnibus Limited Objection to (1) Motion of Debtors’ for Interim and Final Orders
             Authorizing Debtor to Assume the Services Agreement, et al.; (2) Motion of
             Debtors for Entry of an Order Authorizing Debtors to Reject Certain Unexpired
             Leases of Nonresidential Real Property; et al.; (3) Motion of Debtors for Entry of
             Orders Approving Bidding Procedures for Sale of Debtors Assets, et al.; and
             (4) Motion of Debtors to Approve Debtor in Possession Financing (D.I. 293, filed
             9/26/24);


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i)    Omnibus Limited Objection of Certain Landlords to Motions of Debtors to
      Approve (A) Store Closing Procedures and (B) Post-Petition Financing (D.I. 385,
      filed 10/2/24);

j)    Joint Limited Objection of the Texas Tax Authorities to the Debtors’ Motion for
      Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
      364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior
      Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims,
      (III) Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling
      a Final Hearing, and (V) Granting Related Relief (D.I. 387, filed 10/2/24);

k)    Limited Objection Pomeroy Enterprises, LLC to the Debtors’ Motion for Entry of
      Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
      506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior Secured
      Superpriority Post-Petition Financing and (B) Use Cash Collateral, (II) Granting
      Liens and Superpriority Administrative Expense Claims, (III) Providing Adequate
      Protection to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and
      (V) Granting Related Relief (D.I. 395, filed 10/2/24);

l)    Limited Objection of Northtowne Plaza Properties, Ltd. to the Debtors’ Motion for
      Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,
      364, 503, 506, 507, and 552 (I) Authorizing the Debtors to (A) Obtain Senior
      Secured Superpriority Post-Petition Financing and (B) Use Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims, (III)
      Providing Adequate Protection to Prepetition Secured Parties, (IV) Scheduling a
      Final Hearing, and (V) Granting Related Relief (D.I. 398, filed 10/2/24); and

m)    Joinder and Objection of the Grove Shops LLC to the Motions of the Debtors to
      Approve (I) Store Closing Procedures and (II) Post Petition Financing (D.I. 400,
      filed 10/2/24).

Related Documents:

a)    [SEALED] Motion of Debtors for Entry of Interim and Final Orders, Pursuant to
      11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552 (I) Authorizing the
      Debtors to (A) Obtain Senior Secured Superpriority Post-Petition Financing and
      (B) Use Cash Collateral, (II) Granting Liens and Superpriority Administrative
      Expense Claims, (III) Providing Adequate Protection to Prepetition Secured
      Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief (D.I. 19,
      filed 9/9/24);

b)    Debtors’ Motion for Entry of an Order Authorizing the Filing Under Seal of the
      Commercial Information in the Debtor in Possession Financing Facilities (D.I. 21,
      filed 9/9/24)


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      c)     [SEALED] Notice of Filing of Fee Letters Related to Motion of Debtors for Entry
             of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503,
             506, 507, And 552, (I) Authorizing the Debtors To (A) Obtain Senior Secured
             Superpriority Post-Petition Financing And (B) Use Cash Collateral, (II) Granting
             Liens and Superpriority Administrative Expense Claims, (III) Providing Adequate
             Protection To Prepetition Secured Parties, (IV) Scheduling A Final Hearing, and
             (V) Granting Related Relief (D.I. 69, filed 9/9/24);

      d)     Order Authorizing the Filing Under Seal of the DIP Fees in the Debtor in
             Possession Financing Facilities (D.I. 107, entered 9/10/24);

      e)     Interim Order Under Bankruptcy Code Sections 105, 361, 362, 363, 364, 503, 506,
             507, and 552, and Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014
             (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use Cash
             Collateral, (II) Granting (A) Liens and Providing Superpriority Administrative
             Expense Status And (B) Adequate Protection To Prepetition Secured Creditors,
             (III) Modifying Automatic Stay, (IV) Scheduling A Final Hearing, and
             (V) Granting Related Relief (D.I. 114, entered 9/10/24);

      f)     Notice of Hearing Regarding Motion of Debtors for Entry of Interim and Final
             Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 552
             (I) Authorizing the Debtors to (A) Obtain Senior Secured Superpriority
             Post-Petition Financing and (B) Use Cash Collateral, (II) Granting Liens and
             Superpriority Administrative Expense Claims, (III) Providing Adequate Protection
             to Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting
             Related Relief (D.I. 153, filed 9/12/24); and

      g)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

11.   Application of Debtors for Authority to Employ and Retain Davis Polk & Wardwell LLP
      as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date (D.I. 205, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).



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12.   Debtors’ Application for Entry of an Order Authorizing the Employment and Retention of
      AlixPartners, LLP as Financial Advisor for the Debtors Effective as of the Petition Date
      (D.I. 206, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

13.   Debtors’ Application for Entry of an Order (A) Authorizing the Debtors to Retain A&G
      Realty Partners, LLC as a Real Estate Consultant and Advisor Effective as of the Petition
      Date and (B) Waiving Certain Reporting Requirements (D.I. 207, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

14.   Debtors’ Application for an Order Authorizing Employment and Retention of Kroll
      Restructuring Administration LLC as Administrative Advisor Nunc Pro Tunc to the
      Petition Date (D.I. 209, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

15.   Debtors’ Application for Entry of an Order, Pursuant to Sections 327(a) and 328(a) of the
      Bankruptcy Code, Authorizing the Retention and Employment of Guggenheim Securities,

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      LLC as Investment Banker for the Debtors and Debtors-in-Possession Effective as of the
      Petition Date, and Modifying Certain Time-Keeping Requirements (D.I. 210, filed
      9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

16.   Debtors’ Application for Entry of an Order Authorizing Retention and Employment of
      Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy Co-Counsel for the Debtors and
      Nunc Pro Tunc to the Petition Date (D.I. 211, filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

17.   Debtors’ Omnibus Motion for Entry of an Order (I) Authorizing the Debtors to Reject
      Certain Executory Contracts, and (II) Granting Related Relief (D.I. 288, filed 9/19/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

18.   Motion of Debtor for Entry of an Order Establishing Procedures for Interim Compensation
      and Reimbursement of Expense for Retained Professionals (D.I. 289, filed 9/19/24).


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      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee; and

      b)     Informal comments received from the DIP Lenders.

      Related Documents: None.

      Status: This matter has been adjourned to October 21, 2024, at 1:30 p.m. (ET).

MATTER UNDER CERTIFICATION

19.   Motion of Southpoint Plaza, L.L.C. and GKKI, L.L.C. (I) to Compel Debtors to
      Immediately Assure or Reject a Lease of Non-residential Real Property; (II) Compel
      Payment of an Administrative Expense Claim Under 11 U.S.C. § 503(b); and (III) Compel
      Debtors to Comply with their Obligations Under 11 U.S.C. § 365(d)(3) (D.I. 225, filed
      9/19/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 5, 2024, for
      the Debtors.

      Responses Received:

      a)     Informal comments received from the Debtors.

      Related Documents:

      a)     Certification of Counsel Regarding Stipulation Resolving the Motion of Southpoint
             Plaza, L.L.C. and GKKI, L.L.C. (I) to Compel Debtors to Immediately Assure or
             Reject a Lease of Non-residential Real Property; (II) Compel Payment of an
             Administrative Expense Claim Under 11 U.S.C. § 503(b); and (III) Compel Debtors
             to Comply with their Obligations Under 11 U.S.C. § 365(d)(3) (D.I. 425, filed
             10/5/24).

      Status: On October 5, 2024, the Debtors filed a certification of counsel with respect to this
      matter. Accordingly, no hearing on this matter is necessary unless the Court directs
      otherwise.

MATTERS GOING FORWARD

20.   Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to Pay
      Prepetition Critical Vendor Claims, Foreign Vendor Claims, and 503(b)(9) Claims in the
      Ordinary Course of Business, (II) Granting Administrative Expense Status to Debtors
      Undisputed Obligations to Vendors Arising From Post-Petition Delivery of Goods Ordered

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      Prepetition and Authorizing Debtors to Pay Those Obligations in the Ordinary Course of
      Business, (III) Authorizing Debtors to Return Goods, (IV) Authorizing Debtors to Pay
      Certain Prepetition Claims of Lien Claimants, and (V) Authorizing Financial Institutions
      to Honor and Process Related Checks and Transfers (D.I. 11, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 7, 2024, at
      9:00 a.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the Committee;

      b)     Informal comments received from PrimeRevenue; and

      c)     Limited Opposition to Motion of Debtors for Entry of Interim and Final Orders
             (I) Authorizing Debtors to Pay Prepetition Critical Vendor Claims, Foreign Vendor
             Claims, and 503(b)(9) Claims in the Ordinary Course of Business, (II) Granting
             Administrative Expense Status to Debtors Undisputed Obligations to Vendors
             Arising From Post-Petition Delivery of Goods Ordered Prepetition and Authorizing
             Debtors to Pay Those Obligations in the Ordinary Course of Business,
             (III) Authorizing Debtors to Return Goods, (IV) Authorizing Debtors to Pay
             Certain Prepetition Claims of Lien Claimants, and (V) Authorizing Financial
             Institutions to Honor and Process Related Checks and Transfers (D.I. 382,
             filed 10/2/24).

      Related Documents:

      a)     Interim Order (I) Authorizing Debtors to Pay Prepetition Critical Vendor Claims,
             Foreign Vendor Claims, and 503(b)(9) Claims in the Ordinary Course of Business,
             (II) Granting Administrative Expense Status to Debtors Undisputed Obligations to
             Vendors Arising From Post-Petition Delivery of Goods Ordered Prepetition and
             Authorizing Debtors to Pay Those Obligations in the Ordinary Course of Business,
             (III) Authorizing Debtors to Return Goods, (IV) Authorizing Debtors to Pay
             Certain Prepetition Claims of Lien Claimants, and (V) Authorizing Financial
             Institutions to Honor and Process Related Checks and Transfers (D.I. 106, entered
             9/10/24); and

      b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: The Debtors intend to file a revised proposed form of order in advance of the
      hearing. This matter is going forward.

21.   Motion of Debtors for Entry of Interim and Final Orders (I) Establishing Procedures to Sell
      Certain Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief
      (D.I. 13, filed 9/9/24).

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      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 9, 2024, at
      5:00 p.m. (ET) for the Committee and the U.S. Trustee with respect to the terms of the final
      order.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee;

      b)     Informal comments received from Chubb; and

      c)     Informal comments received the Landlords.

      Related Documents:

      a)     Interim Order (I) Establishing Procedures to Sell Certain Leases, (II) Approving
             the Sale of Certain Leases and (III) Granting Related Relief (D.I. 137, entered
             9/11/24); and

      b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24).

      Status: This matter is going forward on an interim basis. The Debtors intend to submit a
      proposed second interim order under certification of counsel in advance of the hearing.

22.   Motion of Debtors for Entry of Interim and Final Orders Authorizing (I) Debtors to
      (A) Honor Prepetition Employee Obligations and (B) Maintain Employee Benefits
      Programs and Pay Related Administrative Obligations, (II) Current and Former Employees
      to Proceed with Outstanding Workers Compensation Claims, and (III) Financial
      Institutions to Honor and Process Related Checks and Transfers (D.I. 14, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 7, 2024, at
      9:00 a.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee;

      b)     Informal comments received from the Committee; and

      c)     United States Trustee’s Objection to Motion of Debtors for Entry of Interim and
             Final Orders Authorizing (I) Debtors to (A) Honor Prepetition Employee
             Obligations and (B) Maintain Employee Benefits Programs and Pay Related
             Administrative Obligations, (II) Current and Former Employees to Proceed with
             Outstanding Workers Compensation Claims, and (III) Financial Institutions to
             Honor and Process Related Checks and Transfers (D.I. 426, filed 10/7/24).


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      Related Documents:

      a)     Interim Order Authorizing (I) Debtors to (A) Honor Prepetition Employee
             Obligations and (B) Maintain Employee Benefits Programs and Pay Related
             Administrative Obligations, (II) Current and Former Employees to Proceed with
             Outstanding Workers Compensation Claims, and (III) Financial Institutions to
             Honor and Process Related Checks and Transfers (D.I. 113, entered 9/10/24).

      b)     Omnibus Notice of First Day Motions and Final Hearing Theron (D.I. 154, filed
             9/12/24); and

      c)     Notice of Supplemental Declaration in Support of Motion of Debtors for Entry of
             Interim and Final Orders Authorizing (I) Debtors to (A) Honor Prepetition
             Employee Obligations and (B) Maintain Employee Benefits Programs and Pay
             Related Administrative Obligations, (II) Current and Former Employees to Proceed
             with Outstanding Workers Compensation Claims, and (III) Financial Institutions to
             Honor and Process Related Checks and Transfers (D.I. 283, filed 9/25/24).

      Status: The Debtors intend to submit a revised form of proposed order in advance of the
      hearing. This matter is going forward.

23.   Motion of Debtors for Entry of an Order (I) Authorizing Debtors to Reject Certain
      Unexpired Leases of Nonresidential Real Property and (II) Authorizing and Establishing
      Procedures to Reject Executory Contracts and Unexpired Leases (D.I. 17, filed 9/9/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 7, 2024, at
      9:00 a.m. (ET) for the Landlords, the Committee, and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from RAR2 Bethel Industrial LLC;

      b)     Informal comments received from the U.S. Trustee;

      c)     Informal comments received from the Landlords;

      d)     Omnibus Limited Objection of Orange County Florida Tax Collector to (1) Motion
             of Debtors’ for Interim and Final Orders Authorizing Debtor to Assume the
             Services Agreement, et al.; (2) Motion of Debtors for Entry of an Order Authorizing
             Debtors to Reject Certain Unexpired Leases of Nonresidential Real Property; et al.;
             (3) Motion of Debtors for Entry of Orders Approving Bidding Procedures for Sale
             of Debtors Assets, et al.; and (4) Motion of Debtors to Approve Debtor in
             Possession Financing (D.I. 293, filed 9/26/24); and

      e)     Objection and Reservation of Rights of CPR/CHI Merrillville II Owner, L.L.C. to
             Motion of Debtors for Entry of an Order (I) Authorizing Debtors to Reject Certain
             Unexpired Leases of Nonresidential Real Property and (II) Authorizing and
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             Establishing Procedures to Reject Executory Contracts and Unexpired Leases
             (D.I. 394, filed 10/2/24).

      Related Documents:

      a)     Notice of Hearing Regarding Motion of Debtors for Entry of an Order
             (I) Authorizing Debtors to Reject Certain Unexpired Leases of Nonresidential Real
             Property and (II) Authorizing and Establishing Procedures to Reject Executory
             Contracts and Unexpired Leases (D.I. 152, filed 9/12/24); and

      b)     Notice of Filing of Amended Exhibit to Proposed Order (I) Authorizing Debtors to
             Reject Certain Unexpired Leases of Nonresidential Real Property and
             (II) Authorizing and Establishing Procedures to Reject Executory Contracts and
             Unexpired Leases (D.I. 373, filed 9/30/24).

      Status: This matter is going forward.

24.   Application of Debtors for Entry of an Order (I) Authorizing the Retention and
      Employment of PWC US Tax LLP as Tax Compliance and Tax Advisory Services Provider
      to the Debtors Effective as of September 9, 2024 and (II) Granting Related Relief (D.I. 208,
      filed 9/18/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 7, 2024, at
      9:00 a.m. (ET) for the Committee; extended to October 7, 2024, at 11:59 a.m. (ET) for the
      U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee.

      Related Documents: None.

      Status: This matter is going forward. The Debtors anticipate that this matter will be
      resolved consensually in advance of the hearing or adjourned.

25.   Motion of the Debtors for Entry of an Order (I) Approving (A) the Procedures for the Sale
      of Certain of the Debtors’ De Minimis Assets Free and Clear of Liens, Claims,
      Encumbrances, and Interests, (B) the Form and Manner of Notice of De Minimis Asset
      Sales, and (II) Granting Related Relief (D.I. 287, filed 9/19/24).

      Objection Deadline: October 2, 2024, at 4:00 p.m. (ET); extended to October 7, 2024, at
      9:00 a.m. (ET) for the Committee and the U.S. Trustee.

      Responses Received:

      a)     Informal comments received from the U.S. Trustee;


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b)     Informal comments received from Chubb;

c)     Informal comments received from the Committee;

d)     Informal comments received from the Landlords; and

e)     Informal comments received from the DIP Agents.

Related Documents: None.

Status: The Debtors intend to submit a revised form of proposed order in advance of the
hearing. This matter is going forward.



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Dated:   October 7, 2024
         Wilmington, Delaware
                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP

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